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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

 JOHN GRIM                                       §
                                                 §
       Plaintiff                                 §
                                                 §
 V.                                              §
                                                 §
 FEDEX GROUND                                    §
                                                         CIVIL ACTION NO. ______________
 PACKAGE SYSTEM, INC.;                           §
 BOBBY RAMON; RAFTER J BAR                       §
 ENTERPRISE INC.;                                §
 CURRY ENTERPRISE, LLC; and                      §
 BUDGET TRUCK RENTAL, LLC                        §
                                                 §
      Defendants


                            PLAINTIFF’S ORIGINAL COMPLAINT


TO THE JUDGE OF THIS HONORABLE COURT:

        Plaintiff JOHN GRIM files this original petition against Defendants, FEDEX GROUND

PACKAGE SYSTEM, INC., BOBBY RAMON, RAFTER J BAR ENTERPRISE INC.,

CURRY ENTERPRISE, LLC, and BUDGET TRUCK RENTAL, LLC, and alleges as

follows:

                                          A. PARTIES

        1.     Plaintiff JOHN GRIM is an individual and a citizen of the State of New Mexico.

        2.     Defendant FEDEX GROUND PACKAGE SYSTEM, INC. (“FEDEX”) is a for-

profit corporation that is incorporated under the laws of the State of Delaware, with its principal

office at 1000 Fed Ex Drive, Moon Township, Pennsylvania 15108. All of FEDEX’s acts and

omissions as described herein were performed or neglected by its agents, ostensible agents,

servants, employees, and/or owners, acting in the course and scope of their respective agencies,


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ostensible agencies, services, employments and/or ownerships. FEDEX is authorized to do

business in the State of New Mexico, and may be served with process in Lea County through its

registered agent, Corporation Process Company, at 726 East Michigan, Suite 330, Hobbs, New

Mexico 88240.

        3.     Defendant BOBBY RAMON is an individual. Upon information and belief,

BOBBY RAMON is a citizen of the State of Texas, and may be served with process at 1912 52nd

Street, Lubbock, Texas 79412, or wherever he may be found.

        4.     Defendant RAFTER J BAR ENTERPRISE, INC. (“RAFTER J BAR”) is a

domestic corporation with its principal office at 4301 Davis Road, Granbury, TX 76049-6250. All

of RAFTER J BAR’s acts and omissions as described herein were performed or neglected by its

agents, ostensible agents, servants, employees, and/or owners, acting in the course and scope of

their respective agencies, ostensible agencies, services, employments and/or ownerships. Records

on file with the Texas Secretary of State indicate that RAFTER J BAR’s status as a corporation

has been terminated, and that Wesley W. James was RAFTER J BAR’s registered agent at the

time of termination. Upon information and belief, Wesley W. James was also the president,

director, general manager, or was otherwise the person in charge of RAFTER J BAR’s affairs at

the time of its termination. Accordingly, RAFTER J BAR may be served with process by serving

Wesley W. James, at 1121 Palisades Drive NW, Albuquerque, New Mexico 87105-1229, or

wherever he may be found.

        5.     Defendant CURRY ENTERPRISE, LLC (“CURRY”) is a domestic limited

liability company that does not have a principal place of business on file with the New Mexico

Secretary of State. CURRY engages in business as Budget Truck Rental at 1606 East Regis Street,

Lubbock, Texas 79403, but is not registered with the Texas Secretary of State. CURRY may be



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served with process through its registered agent on file with the New Mexico Secretary of State,

John D. Curry, at 18 CR 6401 Kirtland, New Mexico, 87417, or through the Texas Secretary of

State at 1019 Brazos Street, Austin, Texas 78701 as its agent for service because CURRY engages

in business in Texas but has not designated or maintained a resident agent for service of process

in Texas. Tex. Civ. Prac. & Rem. Code §17.044; Tex. Bus. Org. Code §§5.251-5.252. All of

CURRY’s acts and omissions as described herein were performed or neglected by its agents,

ostensible agents, servants, employees, and/or owners, acting in the course and scope of their

respective agencies, ostensible agencies, services, employments and/or ownerships.

         6.    Defendant BUDGET TRUCK RENTAL, LLC (“BUDGET”) is a foreign limited

liability company that is incorporated under the laws of the State of Delaware, with its principal

office at 6 Sylvan Way, Parsippany, New Jersey 07054. All of BUDGET’s acts and omissions as

described herein were performed or neglected by its agents, ostensible agents, servants, employees,

and/or owners, acting in the course and scope of their respective agencies, ostensible agencies,

services, employments and/or ownerships. BUDGET is authorized to do business in the State of

New Mexico, and may be served with process in Santa Fe County through its registered agent,

Corporation Service Company, at 123 East Marcy Street, Suite 1201, Santa Fe, New Mexico

87501.

                                   B. MISNOMER DOCTRINE

         7.    It is Plaintiff's intention to sue the entity or entities that (1) employed Defendant

BOBBY RAMON at the time of the collision; and (2) owned, rented, controlled and/or were

otherwise responsible for the vehicle driven by BOBBY RAMON at the time of the collision.

Plaintiff seeks to sue the entity or entities that own and/or operate the Federal Express facility

and/or route for which BOBBY RAMON was employed as a driver, and the entity or entities that



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own and/or operate the Budget Truck Rental facility located at 1606 East Regis Street, Lubbock,

Texas 79403.

        8.     After diligent research and investigation, Plaintiff believes that the entities named

as defendants herein have been correctly named in these capacities, and brings this action against

Defendants in their assumed and/or common name(s). In the event that any proper party is

misnamed in or omitted from this petition, Plaintiff requests that the true name of such party be

substituted pursuant to New Mexico Rule of Civil Procedure 1-015(C) and the misnomer doctrine.

NMRA Rule 1-015(C); see Romero v. Bachicha, 2001-NMCA-048, 130 N.M. 610, 28 P.3d 1151.

                                       C. JURISDICTION

       9.      This Court has jurisdiction over this matter under 28 U.S.C. §1332(a)(1) because

Plaintiff and Defendants are citizens of different U.S. states, and the amount in controversy

exceeds $75,000, excluding interest and costs. Plaintiff is a citizen of the State of New Mexico,

Defendant BOBBY RAMON is a citizen of the State of Texas, and Defendant FEDEX is a citizen

of the State of Delaware.

                                            D. VENUE

       10.     Venue is proper in the District of New Mexico under 28 U.S.C. §1391(b)(2) because

all or a substantial part of the events and omissions giving rise to Plaintiff’s claim occurred in this

district. The incident in question occurred in Curry County, New Mexico.

                                             E. FACTS

       11.     Plaintiff brings this suit to recover damages for personal injuries he sustained as a

result of an incident that occurred on or about January 22, 2016.

       12.     On the date in question, Plaintiff JOHN GRIM was traveling northbound on Norris

in the right lane. Defendant BOBBY RAMON was traveling southbound on Norris in the left lane



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when he failed to yield the right of way, making an improper left turn and striking the front driver’s

side of Plaintiff JOHN GRIM’s vehicle and causing him to suffer severe personal injuries and

damages.

       13.     At the time of the incident in question, BOBBY RAMON was in the course and

scope of his employment with Defendant RAFTER J BAR, a subcontractor and agent for

FEDEX. The vehicle that RAMON was driving at the time of the incident in question was rented

from a BUDGET truck rental location operated by CURRY, located at 1606 East Regis Street,

Lubbock, Texas 79403. Upon information and belief, the vehicle was owned by

BUDGET/CURRY and rented from BUDGET/CURRY by RAFTER J BAR, with the rental

paid for by FEDEX.

                                        F. NEGLIGENCE

       14.     At all times relevant hereto, Defendant BOBBY RAMON had a duty to exercise

ordinary care and to operate BUDGET/CURRY’s vehicle reasonably and prudently. BOBBY

RAMON had a duty to exercise the degree of care that a reasonable commercial driver would use

to avoid harm to others under circumstances similar to those described herein.

       15.     On the occasion in question, BOBBY RAMON, while acting in the course and

scope of his employment with RAFTER J BAR/FEDEX, failed to use ordinary care. BOBBY

RAMON’s negligent, careless, and/or reckless disregard of duty included, but is not limited to,

the following acts and omissions:

               a. Failing to yield the right of way;

               b. Failing to maintain a proper lookout;

               c. Failing to pay adequate attention;

               d. Failing to take evasive action;

               e. Failing to use due caution;

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               f. Driving while distracted;

               g. Driving the vehicle without regard for the safety and welfare of other persons or

                   property; and

               h. Operating the vehicle in a manner inconsistent with what a reasonably prudent

                   person would have done under the same or similar circumstances.

       16.     Each and all of the above-stated acts and/or omissions constitute negligence or,

alternatively, conscious indifference to the rights of Plaintiff, who reserves the right to plead

additional and/or more specific acts and omissions in the future as additional facts become known.

       17.     BOBBY RAMON’s negligent, careless, and/or reckless disregard of his duty

proximately caused injury to Plaintiff, for which Plaintiff seeks damages within the jurisdictional

limits of this Court.

                                   G. VICARIOUS LIABILITY

       18.     At all times relevant hereto, BOBBY RAMON was RAFTER J BAR/FEDEX’s

employee, representative, agent, and/or apparent/ostensible agent; was acting within the course

and scope of his employment, agency, apparent/ostensible agency, and/or authority; and was

acting in furtherance of the official duties of his employment, agency, and/or apparent/ostensible

agency with RAFTER J BAR/FEDEX.

       19.     At the time of the incident in question, and immediately prior thereto, BOBBY

RAMON was engaged in the furtherance of RAFTER J BAR/FEDEX’s business, and was

engaged in accomplishing a task for which he was employed.

       20.     RAFTER J BAR and FEDEX are therefore vicariously liable for Plaintiff’s

injuries and damages resulting from the negligent acts and/or omissions of BOBBY RAMON,

pursuant to the doctrine(s) of respondeat superior, agency, and/or apparent or ostensible agency.



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                                       H. JURY DEMAND

       21.     Plaintiff demands a trial by jury.

                                 I. JOINT AND SEVERAL LIABILITY

       22.     Plaintiff affirmatively pleads that all Defendants are jointly and severally liable for

the damages sustained by Plaintiff in this case.

                                          J. DAMAGES

       23.     Plaintiff requests that the jury consider what sum of money, if paid now in cash,

would fairly and reasonably compensate him for the injuries and damages he sustained in this case

as a result of Defendants’ wrongful conduct.

       24.     As a direct and proximate result of Defendants’ negligent conduct, Plaintiff JOHN

GRIM sustained severe bodily injuries and suffered damages which will, in all reasonable

probability, continue into the foreseeable future. JOHN GRIM’s damages include, but are not

limited to, the following:

                a. Physical pain and suffering in the past;

                b. Physical pain and suffering in the future;

                c. Medical expenses in the past;

                d. Medical expenses in the future;

                e. Lost wages in the past;

                f. Loss of earning capacity in the future;

                g. Mental anguish and emotional distress in the past;

                h. Mental anguish and emotional distress in the future;

                i. Physical impairment in the past;

                j. Physical impairment in the future;



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                k. Loss of enjoyment of life in the past; and

                l. Loss of enjoyment of life in the future.

Plaintiff JOHN GRIM reserves the right to plead additional and/or more specific damages in the

future as additional facts become known.

                                                K. PRAYER

       25.     For     these     reasons,   Plaintiff    asks   for   judgment   against   Defendants

for the following:

                a. Actual damages as alleged herein and/or proven at trial;

                b. Prejudgment interest from the date of injury through the date of judgment, at

                     the maximum rate allowed by law;

                c. Post judgment interest at the maximum rate allowed by law;

                d. Costs of court; and

                e. Any and all such other and further relief, whether in law or in equity, to which

                     Plaintiff may be justly entitled.

                                                 Respectfully submitted,

                                                 /s/ John D. Sloan, Jr.
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